Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 1 of 7




                                                                 ENTERED
                                                                 02/28/2017
Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 2 of 7
Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 3 of 7
Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 4 of 7
Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 5 of 7
Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 6 of 7
Case 17-31139 Document 3 Filed in TXSB on 02/28/17 Page 7 of 7
